Case 5:12-cv-12102-JCO-MJH ECF No. 1, PagelD.1 Filed 05/09/12 Page 1 of 18

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

 

UNITED STATES OF AMERICA § Claim No:
1999A17368/1999A19761/1999A22354
§
Vs. §
§
Leroy S. Hearn
COMPLAINT

 

 

 

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

The United States of America, plaintiff, alleges that:

Jurisdiction

1. This Court has jurisdiction over the subject matter of this action pursuant to Article III,

Section 2, U.S. Constitution and 28 U.S.C. § 1345.
Venue

2. The defendant is a resident of Wayne County, Michigan within the jurisdiction of this
Court and may be served with service of process at 14885 Forrer Street, Detroit, Michigan |
48227,

The Debt
First Cause of Action - Claim Number: 1999A17368

3. The debt owed the USA is as follows:

A. Current Principal (after application of all $938.64
prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and $1,929.16

Accrued Interest

C, Administrative Fee, Costs, Penalties $0.00
 

Case 5:12-cv-12102-JCO-MJH ECF No. 1, PagelD.2 Filed 05/09/12 Page 2 of 18

D. Credits previously applied (Debtor payments, $0.00
credits, and offsets)

E. Attorneys fees $0.00

Total Owed — Claim Number 1999A17368 _ $2,867.80

Second Cause of Action - Claim Number: 1999A19761

4. The debt owed the USA is as follows:

A. Current Principal (after application of all $117.06
prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and $105.39

Accrued Interest

C. Administrative Fee, Costs, Penalties $60.45

D. Credits previously applied (Debtor payments, $0.00
credits, and offsets)

E. Attorneys fees $0.00

Total Owed — Claim Number 1999A19761 $282.90

Third Cause of Action - Claim Number: 1999A22354

5. The debt owed the USA is as follows:

A. Current Principal (after application of all $50.00
prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and $46.77

Accrued Interest

C. Administrative Fee, Costs, Penalties $26.55

D. Credits previously applied (Debtor payments, $0.00
credits, and offsets)

E. Attorneys fees $0.00

Total Owed — Claim Number 1999A22354 $123.32

TOTAL OWED (Claim Numbers 1999A17368/1999A19761/1999A22354) $3,274.02
 

Case 5:12-cv-12102-JCO-MJH ECF No. 1, PagelD.3 Filed 05/09/12 Page 3 of 18

The Certificates of Indebtedness, attached as Exhibits "A", "B", and “C”, show the total
owed excluding attorney's fees and CIF charges. The principal balance and the interest balance
shown on the respective Certificates of Indebtedness, are correct as of the date of the Certificates
of Indebtedness after application of all prior payments, credits, and offsets. Prejudgment interest
accrues at the rate of 8.000% per annum or $0.21 per day on Claim Number 1999A17368,
3.000% per annum or $.01 per day on Claim Number 1999A19761, and 3.000% per annum or
$0.004 per day on Claim Number 1999A22354.

Failure to Pay

6. Demand has been made upon the defendant for payment of the indebtedness, and the
defendant has neglected and refused to pay the same.

WHEREFORE, USA prays for judgment:

A. For the sums set forth in paragraphs 3, 4, and 5 above, plus prejudgment
interest through the date of judgment, all administrative costs allowed by law, and post-judgment

interest pursuant to 28 U.S.C. § 1961 that interest on the judgment be at the legal rate until paid

in full;

B. For attorneys' fees to the extent allowed by law; and,

C. For such other relief which the Court deems proper.

Respectfully submitted,

By: s/Charles J. Holzman (P35625)
Holzman Corkery, PLLC
Attorneys for Plaintiff
Tamara Pearson (P56265)
28366 Franklin Road
Southfield, Michigan 48034
(248) 352-4340

usa@holzmanlaw.com
 

Case 5:12-cv-12102-JCO-MJH ECF No. 1, PagelD.4 Filed 05/09/12 Page 4 of 18

U. 8S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS

Leroy S. Hearn

Leroy Hearn
20485 Manor St.

Detroit, MI 48221

 

I certify that Department of Education records show that the borrower named above is indebted to
the United States in the amount stated below plus additional interest from 4-9-99 .

On or about 6-21-84, the borrower executed promissory note(s) to secure loan(s) of $2,500.00
from MFGRS Hanover Trust Co., Hicksville, NY at 8 percent interest per annum. This loan’
obligation was guaranteed by New York State Higher Education Service Corporation, and then
reinsured by the Department of Education under loan guaranty programs authorized under Title
IV-B of the Higher Education Act of 1965, as amended, 20 U.S.C. 1071 et seq. (34 CFR. Part
682). The holder demanded payment according to the terms of the note(s), and credited $1,561.36
to the outstanding principal owed on the loan(s). The borrower defaulted on the obligation on
11-18-86 , and the holder filed a claim on the guarantee.

 

 

 

Due to this default; the guaranty agency paid a claim in the amount of $938.64 to the holder. The
guarantor was then reimbursed for that claim payment by the Department under its reinsurance
agreement. The guarantor attempted to collect the debt from the borrower. The guarantor was
unable to collect the full amount due, and on 5-22-93 , assigned its right and title to the loan(s) to
the Department.

Since assignment of the loan, the Department has received a total of $0 in payments from all
sources, including Treasury Department offsets, if any. After application of these payments, the
borrower now owes the United States the following:

Principal: $ 938.64
Interest: $ 946.89
Administrative/Collection Costs: $ .00
Late fees: $ .00
Total debt as of 4-9-99 : $ 1,885.53

Interest accrues on the principal shown here at the rate of $.21 per day.

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and
correct.

Executed on: y (7) 77 um 2 / - 2
Title Loan Analyst

Branch Litigation

 
 

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NEW YORK STATE HIGHER EDUCATION SERVives LUMTUHATION ‘aes
°” QUARANTEED STUDENT LOAN
PROMISSORY NOTE B-840421 1510

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PERCENTAGE Fleaaced 85.00 or 5% of the payment, whichever is less.

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yearly rate. ‘| provided to you. gay e pensity, snd you msy be entitled to.
@ refund of part of tha finance charge.

See the promissory note fer sny eddaional information
about nonpayment, dafeult, sny required repayment in full
before the scheduled date, and prepayment refunds end

 

 

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| homizstion of the Amount Financed of $2,369.80 __
Lesa Amount 62.800. Less: Prepaid Finance Charge $220.20. Equals: Amount paid to you $ 2,262-80
includes:
insurence Premium $5.20.
Origination fee
(5% of Loan Amount) § 125.00.

REPAYRRENT OF LOANS - MILITARY SERVICE

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Depertment of Defensa Authoraaten Act ot 1981 @t 96-342, 10 U.S.C. 2141, Note) Guestions concerning the progrem should be

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FURTHER AGREEMENTS ANO UNDERSTANDINGS vo 4

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changes ere epplicadie to me.

8. The insurance premium i$ computed from the first day af the month. following the disbursement w the iast Gay of the grace perscd. A prorated
shere af the insurance premium will be refunded if at least $100 of the losn 1s prepad within 120 cays of distursemect

1 acknowleage receipt, prior to signing this note, of a copy hereof contmining the disclosure statement required by ioe. ond of a copy af the

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PERJURY THAT THIS 1S A TRUE
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TAME é DATE

 
 

Case 9:12-cv-12102-JCO-MJH ECF No. 1, PagelD.9 Filed 05/09/12 Page 9 of 18

: I

U. S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS

Leroy S. Hearn
Leroy Hearn
20485 Manor St.

Detroit, MI_ 48221

I certify that Department of Education records show that the debtor named above is indebted to the
United States in the amount stated below plus additional interest from 4-9-99

On or about 8-13-80, 8-13-80, the debtor executed promissory note(s) to secure loan(s) of $65.00,
$70.00 from Detroit Business Institute, Detroit, MI at 3 percent interest per annum. The
institution made the loan(s) under the Federally-funded National Direct Student Loan, now Perkins
Student Loan, programs authorized under Title [V-E of the Higher Education Act of 1965, as
amended, 20 U.S.C. 1087 aa et seg. (34 C.F.R Part 674). The institution demanded payment
according to the terms of the notes, and the debtor defaulted on the obligation on 2-2-82. Due to
this default, the institution assigned all rights and title to the Department of Education.

 

After the institution credited all cancellations due and payments received, the debtor owed the
school $117.06 principal and interest in the amount of $7.83. This principal and interest together
with any unpaid late charges totaled $124.89. The loan was assigned to the Department on
7-28-84.

Since assignment of the loan, the Department has received a total of $0 in payments from all
sources, including Treasury Department offsets, if any. After application of these payments, the
debtor owes the United States the following:

 

Principal: $ 117.06
Interest: $ 59.47
Fees/Costs: $ 60.45
Late charges $ 00
Total Debt as of 4-9-99 : $ 236.98

|

Interest accrues on the principal shown here at the rate of $.01 per day.
Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and

correct.
Executed on: Ay { 7 27 ame he Zo

Title: Loan Analyst
Branch: Litigation

 

 
 

Case 9:12-cv-12102-JCO-MJH ECF No. 1, PagelD.10 Filed 05/09/12 Page 10 of 18

 

 

 

 

 

 

 

 

3 mo PROMISSORY NOTE -
NATIONAL DIRECT STUDENT LOAN PROGRAM
“ (CITY, STATE, AND ZIP CODE?
Detroit, MI 48221
STUDEN
[___ SECURITY .-seorrereey ot ne.

1, Leroy Hearn , berainafter colled the maker promics to poy

TO : Detroit Business Institute | hereinafter called the fonding institution,
(NAME OF INSTITUTION}

LOCATED AT. 115 State Street Detroit, MI 48226 , the sum of such mounts us may from tima to
time be advanced to ma and andorzsd In the io of A below together with ali sttor y's foes and other costs and chorges necestary for the collection of
any amount not pald when dus. .

   

SIGNATURES OF MAKER
1 $65.00

$70.00
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The maker further understands and pores, and It Is understood betwean the partios that:

1. Ait sums advanced pursuent to this note are drawn from 4 fund created undar Part E of Title LV of the Higher Education Act of 1985, op amended, horainafter
calied the Act. Such terme of tha note as are subject to Interprotation shall ba construed In the light of such Act and federal regulations pertaining to such Act, copkes
of which shall ba kapt by the lending Institution.

il. Repayment of principal, together with Intorast thereon, shall be made over a period commencing (excapt when Paragraph U1 (3) 1s applicable) 9 months after
tho date on which the maker esaves to carry, at on inctitution of higher Jon, or at a wparablo | ion outyide the States spproved for this purpos by the
U.S. Commissioner of Education, hereinafter called the Commissioner, at leost ono-half the normal full-tlme acedamic workload and ending 10 years and 9 months
after such date. Interest of 3 per centum per annum shall accrue from the beginning of much repay porlod. Repay {of principal, her with Intarost thergon,
shall be mada In equal monthly Instaliments {os datormined by tha lending | tution) in 4 with the schsdulo which is hod to and made part of this note,

Wl. This note In subject sisa to tha follow!ng conditions:

(1) The maker may at his option ond without penalty prepay oll or any port of the principal, plus the nocrund Interest theraon, at any the,

(2) In the event of a failure to moat @ scheduled repayment of any of tho installments dua on this note, tha entire unpald Indebtedness Including Intarset due
end acerued thereon, shall, st the option of the lending Hon, t L diately due and pay

(2) imtorest shall not accrua, and Installments nead not be paid during any period (A} during which tha maker Is carrying, ot an Institution of higher education
or at a comparable Institution outside the States approved for this purpora by the Commbsloner, at lest one-half tha normal full-time academic worklead or (B) not In
excess of 3 yoars during which the mekar {1 is on fulltime activa duty oa a membar of tha Armed Forces (Army, Navy, Alr Fores, Marine Corps, or Conrt Guard) of
the United States, (I) it in service as a voluntocr under the Peace Corps Act, or (111) Is in sorvice as a voluntoor under Title VISE of the Economic Opportunity Act of
1965 (Vista). Any such period in {a} or {6} Salt/not be shelabigl ij doterminidg phe JO-vsarpotiod during which rapayment must ba completed at tpecified In
paragraph Ht. ii ite ea reat ee

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(4) If the maker undertakes sarvice after J ng 30, 1972, lé ars quiedine or id b-bublicer éther nonprofit private clemantary or vacondary achool which le
ine schoo! district of « focal educstions! agency Which Is sligibfe Ihinich yea} for Apjitétion plirguant to Tile } of the Elomentary and Secondary Education Act of
1965 and which for tha purposes of this clauses éiid.for thet year hus beomsenpnated by she Gomibsloner In aecardance with tha provisions of Section 486(a)(2) of
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education} tna public or other nonprofit slernantary or secondary school sysiaiiy for ect complete-ysar of such nervieg the smount of this note shall bo reduced at the
jute of 16 pot cantum of the total principal amount of the loan plus interest thereon for the-firét-Snd bacond year of such rsrvice, 20 por cantum of tha total principal
prmount plus Interest thernon for the third end fourth yeer of such rarvice, and 30 per cantum of tha tote! principal amount plus interest thereon for the fifth year of
such rervice,

(5) Hf, sfter Juna 30, 1972, the maker undertakes vervice os a full-time staff membar In B preschool program carried on under Section 221A) (1) of the
Economic Opportunity Act of 1964 (Head Start) which Is operated for 9 period which Is comparable tos full school year In ths locality, and provided thet the salary
of such staff mambor is not more then the salary of » comparabla amployes of the local educational egency, the principal amount of this note shall ba reduced at the
raw of 15 por cantum of the total principal amount of the losn phus Interest thereon for cach comploth year of such service,

(6) 1f, after June 30, 1972, the maker serves as 8 member of the Armed Forces of tha United States, up to 60 por contum of the principal amount of this Ioan
shall be reduced at the rate of 12% per cemum of the total principal amount of the losn, plus Interest thereon, for each complate year of servied Inan arae of hostilities
that qualifies for special pay undar Section 310 of Titla 37, United Statas Code.

(7) The maker is responsible for Informing the lending Institution of any change or changes In his address,

(8) Notvathstanding the repayment behedule otherwite calculable to Port {l, the maker shall repay the tots! principal srnount of this toon at tho rate of not less
than $30 por month. In the event the maker ved or haw ived other National Direct Loons from other funds suthorized by the Act at ons or more other
tending Institutions, he/she shall repay this note at 6 monthly rate equal to not fess than the amount by which $30 excecds ths total monthly rate of principal
repaymeant on all such other foans. .

(9) Hf the maker fells to make timaly payment of all or any part ofa scheduled installment, or If the maker Is oligible for deferment or concotlation of payment
{pursuant to Pert 111(3), (4), (6), or (G}), but fells to submit timely and satisfactory avidence theraof, the maker promises to pay the chorge ossetsad agsinet him by tha
lending Institution. No charge may exeead $1 for the firat month or part of w month by which such installment or avidance Is Inte, and $2 for cach month or part of a
month thereafter, 11 the fending Institution slects to add the orsared charge to the outstanding principal of the Jean, It shall so Inform the maker prior to the dug date
of tha next instalment.

IV. This nota shall not be assigned by the lending institution except, upon transfer of tha maker to another Institution participating in this program for, If not 20
participating, Ie eligibla to do so and ix approved by tha C E for such purposa), to such | fon: provided that assl may bs made to (n) institutions
other than thosa to witch the maker bas transforrad or to the United States whore tho landing Institution coarss to function as an educational institution and (b) to the
United States if this nots hes bean In dafeult for two yeire The provisions of thin note thet relate to tha lending institution shall where appropriste relate to Gn
assignes. .

v. Tho maker horeby certifies that hho hos fisted befow all of the tational Direct Loans {or National Oefenes 4 Loans} he hes obtained at other
institutions. .

   
     

  

 

 

  
 
  

  
 

 
 
     
 

 
    
 

   

OTHER INSTITUTIONS
OF

OF NA LOANS AND NATIONAL STUDENT LOANS

   
   

  

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SIGNATURE
“PERMANENT

a (STREET OF BOX NUMBER, CITY, STATE, AND.ZIP cODE)

“CAVEAT—This note shall ba executed without sacurity and without endorsement, oxeept that If tha maker is 3 minor end this note would not, under tho lew of tha
state in whlch the Ionding Institution Is focated, create a bindIng obligation, oither sscurity or endorsement may be required. The lending Institution shell supply 5 copy
of this nots to tha maker.

SIGNATURE OF ENDORSER me ATE, ep 9,

PERMANENT ADDRESS, .
. (STREET OR BOX NUMBER, CITY, STATE, AND ZIP CODE} | l/ fv
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Case 5:12-cv-12102-JCO-MJH ECF No. 1, PagelD.11 Filed 05/09/12 Page 11 of 18

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1 CERTIFY UNDER PENALTY OF
PERJURY THAT THIS IS A TRUE

AND EXACT COPY OF THE

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NA DATE

 

 

 
 

Case 5:12-cv-12102-JCO-MJH ECF No.1, PagelD.12 Filed 05/09/12 Page 12 of 18
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1 CERTIFY UNDER PENALTY OF

PERJURY THAT THIS IS A TRUE

AND EXACT COPY OF THE

ORIGINAL PROMISSORY NOTE
i 09

A , DATE

 
 

_ Case 9:12-cv-12102-JCO-MJH ECF No. 1, PagelD.14 Filed 05/09/12 Page 14 of 18

Poe i —

U. S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS

Leroy S. Hearn

Leroy Hearn
20485 Manor St.

Detroit, MI 48221

 

corre
1

I certify that Department of Education records show that the debtor named above is indebted to the
United States in the amount stated below plus additional interest from 4-9-99 oe

On or about 11-15-81, 4-14-81, the debtor executed promissory note(s) to secure loan(s) of
$50.00. $50.00 from Detroit Business Institute, Detroit, MI at 3 percent interest per annum. The
institution made the loan(s) under the Federally-funded National Direct Student Loan, now Perkins
Student Loan, programs authorized under Title IV-E of the Higher Education Act of 1965, as
amended, 20 U.S.C. 1087 aa ef seg. (34 C.F.R Part 674). The institution demanded payment
according to the terms of the notes, and the debtor defaulted on the obligation on 11-2-81. Due to
this default, the institution assigned all rights and title to the Department of Education.

 

After the institution credited all cancellations due and payments received, the debtor owed the
school $50.00 principal and interest in the amount of $5.07. This principal and interest together
with any unpaid late charges totaled $55.07. The loan was assigned to the Department on 7-28-84.

Since assignment of the loan, the Department has received a total of $0 in payments from all
sources, including Treasury Department offsets, if any. After application of these payments, the
debtor owes the United States the following:

 

 

Principal: $ 50.00
Interest: § 27.15
Fees/Costs: $ 26.55
Late charges $ 00
Total Debt as of 4-9-99 : $ 103.70

Interest accrues on the principal shown here at the rate of $.00 per day.

Pursuant to 28 U.S.C. S 1746(2), I certify under penalty of perjury that the foregoing is true and
correct.

Executed on: od; f 7 77 None.) ) QD
Title: Loan Analyst
Branch: Litigation
 

 

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12102-JCO-MJH ECF No. 1, PagelD.15 Filed 05/09/12

 

 

 

 

 

 

 

 

we PROMISSORY NOTE
- . NATIONAL DIRECT STUDENT LOAN PROGRAM
. iCITY, STATE, AND ZIP CODE}
Detroit, Michigan 48226
STUDENT SOCIAL
SECURITY NUMBER J

, : Orn. , heroinaftor called tha maker promisa to poy

TO Detroit Business Ins titute , hereinafter calisd the Jending Institution,
(NAME OF INSTITUTION}

LOCATED AT. 115 State Street Detroit, MI 48226 | the sum of such amounts as may from time to
time be d to ma and endortad in the Scheduls of Ad below together with all attorney's fees and other costs and charges necessary for the collection of

 

    
 

any amount not paid when due.

SCHEDULE OF
AMOUNT : OF MAKER

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The maker further understands ond agrees, and it Ix understood beatwean the parties that:

i, Ail sums odvanced pursuant to this note sre drawn from a fund created undor Part E of Tite IV of the Higher Education Act of 1965, as amended, hereinafter
called the Act. Such terms of the note as ore subject to interpretation shail ba construed In the fight of such Act and federal regulations pertalning to such Act, copies
of which shall be kept by the lending Institution. : be H-

Hi. apayment of principal, together with interest thereon, shall be mode over a perlod commencing lexcept when Paregraph 11 (3) ts applicable) Bynonthr after
the date on which the maker castes to carry, at an Inetitution of higher education, or at 6 comparable Institution outside the States approved for this purpose by the
U.S, Commissioner of Education, hereinafter called tha Commissioner, at least one-half the normal full-time academic workload and ending 10 yenrs and 8 months
after such date. Interast of 3 per centurn per annum shall secrue fram the beginning of such repaymont period. Repayment of principal, together with Interast thereon,
shall be made in equal raonthly Installments (ps datermined by th lending Institution} In accordance with the schedule which Is attached to and made part of this nots.
(1. This note Is subject also to the following conditions:

(1) The maker may at his option and without penalty prepay all or any part of the principal, plur the accrued Interact thereon, at any time.

(2) In the event of a fallura to meet a scheduled repayment of any of the Installments due on this note, the antire unpaid Indebtedness including Interest dua

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and scerued theraon, shall, at the option of tha lending Institut! ip fiately due and payable, 3") 2 877 ke

 

PPE ype es

(3) {interest shall not ecerue, and Installmants need not be paid during eny period, (A) during which the-maker, i éortvihgy en Institution of higher education

oy at a comperable institution outside the States appraved for this purposa by the Commissioner, at Isast‘one-half the nérroal,full:tlitia academic workload or (B) not in

excess of 3 yeors during which the meker {I} Is on full-time active duty as a member of the Armed Forces: (Army, Wauy, Alt; Fores, Marina Corps, or Const Guard) of

the United States, {H!) Is in servies as 2 volunteer under the Poses Corps Act, or (Hii) is In sorvicd ox 8 volunteer under Tith vill dfthe Economic Opportunity Act of

1985 {Vista}. Any such pariod in (s) or {b) shall not be Included in datarthining’ the 10-year perlod ‘a ring Whiat! depaymerdtimust be complated as specified in
paragraph 1. . noe

(4) If the maker undertakes sarvice after June 30, 1972, (a) asa full-time teachor ins public or other nonprofit privata- amantary or secondary school which ix

in a school district of 2 local educational agancy which Is eligible In such year for assistance pursuant to Title f of the Blemantsty and Secondary Education Act of
1965 and which for the purposes of this clause and for that yoor hos been designated by the Commissioner In accordance with the provisions of Section 466(A){2) of
the Act 2s a school with a high enrollment of studants from low-income families, or {h) as a full-time teacher of | Jicapped children {Includl lly ratarded,
hard of hearing, deaf, spesch Impaired, visually handicapped, serlously amotionally disturbed, or othar health-Impatred children who by reaton thereof require special
education) in a public or other nonprofit slamantary or secondary school system, for cach complete yeor of xuch service the amount of this note shall be reduced at the
rate of 1§ per centum of the total principal amount of the loan plus intorest thereon for the firat and second year of such servica, 20 per centum of the tote! principal
amount plus interest thenson for the third and fourth year of such service, and 30 per centum of the total principal amount plus interest theraon for the fifth year of
such service,

{5) tf, after June 30, 1972, the maker undertakes service as a full-time stoff momber in a preschool program cerrled on under Sectlon 222(A}(1} of tha
Economic Opportunity Act of 1964 (Head Start) which Is operated for a perlod which Is comparable to a full school year in the locality, and provided that the salary
of such staff member is not mors than the talary of a comparable employss of the local educational agency, the principal amount of this note shall be reduced at the,
rato of 15 per centum of the total principal amount of the Joan plus Interest thereon for each complete year of such service. .

(6) If, after June 30, 1972, the maker sorves 55 a member of the Armed Forces of tha United States, up to 60 per contum of the principal amount of this loan
shalt ba reduced at the rats of 12% par centum of the totml principal amount of tha loan, plus interest thereon, for each complote year of service in on srea of hostilities
that qualifies for special pay undar Section 310 of Title 37, Unitad States Code.

(7) The maker ix responsible for Informing the lending Institution of any change or changes in his address.

(8) Notwithstanding the repayment schedule otherwise calculable to Pert tH, the maker shall repay the total peincips! amount of this ioun at tho rate of not fess
than $30 per month. fn the event the maker raceives or has received othor National Olract Student Loans from other funds authorized by the Act at one or more other
lending institutions, he/she xhall rapay this note at 5 monthly rete equal te not fess than the amount by which $30 exceeds the total monthly rote of principal
repayment on all such other loans,

(9) ff the maker falls to make timely payment of all or any part of » scheduled Installment, or If the maker Is oligibis for deferment or cancellation of payment
(pursuant to Part ff! (3), (4), (5), or (6)}, but fails to submit thnely and satisfactory evidence thereof, the maker promites to pay the charge aractend against him by the
lending Institution. No charge may excesd $1 for tho first month or part of a month by which such Installment or avidence Is tote, and $2 for oach month or part of a
month thoresfter. If the lending institution slocts to hdd the arsessed charge to the outstanding prinelpal of the loan, It shall so Inform tho maker prior to the due date
of the next installment:

1V. This note shall not be assigned by tha lending Institution except, upon transfer of the maker to another institution participating in this program for, H not 36
perticipating, !s oligible to do to and Is approved by the Cammisstoner for such purpors}, to such Institution: provided that assignment may be msde to (s) Institution:
other than those to which the maker has transferred or to the United States where the lending Institution conse to function os an edutatlonal Institution and {b) to thr
United States If this note has been In.defeult for two yer. The provisions of this note thet relate to tho lending Institution shall where appropriste relate to oF
assignes. . . : , .

ve The maker horaby certifies that he has Jisted below ail of the National Direct Student Losns for National Osfense Studant Louns) he has obtained at otha

Inatitutions.

    
  

 

 

 

 

 

 

 

 

 

 

 

 

 

SCHEDULE OF NATIONAL DIRECT STUDENT LOANS'AND NATIONAL DEFENSE STUDENT LOANS AT OTHER INSTITUTIONS
AMOUNT DATE INSTITUTION SIGNATURE OF MAKER
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Qyigle ene = ane ow ques veoh!
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Site In which the landing Inatitutlon-ts lotated, create @ binding obligatisiibtithe? decurity or endoreement may be required. The lending Institution shell supply # co}

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SIGNATURE OF ENDORSER __PATE,

PERMANENT ADDRESS.
ISTREET OF BOX NUMBER, CITY, STATE, AND ZIP CODE}

Page 15 of 18
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